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 2   KAREN A. ESCOBAR
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 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                )   1:08-cr-0124 OWW
                                              )
12                     Plaintiff,             )
                                              )
13          v.                                )   STIPULATION RE:
                                              )   CONTINUANCE AND ORDER
14   REYES CHAPARRO-FLORES,                   )
                                              )
15                                            )
                    Defendant.                )
16   _________________________________)

17          Defendant REYES CHAPARRO-FLORES, by and through his attorney,

18   LARRY LEE, and the United States of America, by and through its

19   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

20   A. ESCOBAR, Assistant United States Attorney, hereby enter into

21   the following stipulation:

22          1.   The parties to the above-captioned matter agree to vacate

23   the June 1, 2010, sentencing date and reset the matter for July

24   19, 2010, at 9:00 a.m.

25          2.   The parties stipulate that the continuance is

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 1   necessitated by the defendant’s need to prepare adequately for

 2   sentencing.

 3   DATED: May 8, 2010                            Respectfully submitted,

 4                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 5
                                                   By: /s/ Karen A. Escobar
 6                                                   KAREN A. ESCOBAR
                                                   Assistant U.S. Attorney
 7

 8                                                 /s/ Larry Lee
                                                   LARRY LEE
 9                                            Attorney for Defendant
                                                   REYES CHAPARRO-FLORES
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12                                     O R D E R

13        Having read and considered the foregoing stipulation,

14        IT IS THE ORDER of the Court that the current sentencing date

15   of June 1, 2010, is hereby vacated and is reset for July 19, 2010,

16   at 9:00 a.m.

17                                 IT IS SO ORDERED.

18              Dated:    May 13, 2010     /s/ Oliver W. Wanger
                         emm0d6UNITED STATES DISTRICT JUDGE
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